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Debtor 1 Hearthwood Narth | Association, Inc.

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number: 12-35375

| Form 1340 (12/19)

APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

1. Claim Information

For the benefit of the Claimant(s)’ named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute
regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

Amount: $ 18,318.65

Claimant's Name: GARY LUU

AV SIND DE HACIENDA 604
Claimant's Current Mailing ‘FRACC FOVISTE 4TA ETAPA

Address, Telephone Number,
and Email Address: MEXICALI BC C.P, 21240 MEXICO

| 2. Applicant Information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
apply):

Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of
the court.

Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
succession or by other means,

Applicant is a representative of the deceased Claimant's estate.

Supporting Documentation

Applicant has read the court's instructions for filing an Application for Unclaimed Funds and is providing the required
supporting documeniation with this application.

xi

[i Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator).
a

[a

3.

le

' The Claimant is the party entitled to the unclaimed funds.
? The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3 The Owner of Record is the original payee.
u

| 4. Notice to United States Attorney

pursuant to 28 U.S.C. § 2042, at the following address:

Dailas,

[x Applicant has sent a copy of this application and supporting documentation to the United States Attorney,

Office of the United States Attorney
Attn: Unclaimed Funds
1100 Commerce Street, 3rd Floor

TX 75242

5. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date: os/7| 2O22%

5. Go-Applicant Declaration (if applicable)
| Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date:

Signature of Applicant

GARY LUU

Signature of Co-Applicant (if applicable)

Printed Name of Applicant

Address: AV SIND DE HACIENDA 604
FRACC FOVISTE 4TA ETAPA
MEXICALI BC C.P, 21240 MEXICO

Telephone: 686-1076011

Email: YAPODEMOS2015@GMAIL.COM

Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

Email:

6. Notarization

STATEOF_ CALI FD EAIA

countyor SAW DIELO

This Application for Unclaimed Funds, dated

OS 734 dor was subscribed and sworn to before
me this_7.5 day of tarber_, 20 by

— GARY Lovo

| 6. Notarization
STATE OF

COUNTY OF

‘This Application for Unclaimed Funds, dated
was subscribed and sworn to before

me this day of , 20 by

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
| the person whose name is-subscribed to the within
instrument. WITNESS my hand and official seal. ;

Notary Public fom Mi

(SEAL)

PATRICIA MA
oe RTI
oy ae # 2309005
iblc - Catifor
San Diego County"

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.

(SEAL) Notary Public

My commission expires:

. My comm. Expires Ot 39353——-

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rrYYT?
YT

Form 1340

Application for Payment of Unclaimed Funds

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Cablemas Telecomunicaciones, 5.A de C.V.

| * Domicilio Fiscal: AV: VASCO DE QUIROGA N°2000 COL. SANTA FE

i telecom C.P. 01210, DENEGACION ALVARO OBREGON MEXICO D.F.
RFC TCI770922C€21

GARY LUU ;
AV. SINDICATO DE HACIENDA 604,
FRAGC. FOVISSSTE 4TA ETAPA,
MEXICALI, BAJA CALIFORNIA,

MEXICO C.P. 21240 86425656864202294512499636658

MES DE FACTURACION MARZO # DE CUENTA 9636658

FORMA DE PAGO EFECTIVO TOTAL A PAGAR § 399.00
NUMERO TELEFONICO 6864202294 PAGAR ANTES DE 31/MARZO/2022
PAGINA 1DE1

ESTADO DE CUENTA

SALDO DEL MES ANTERIOR S$ 0.00
Suscripcion izzi 3 a of O O
fal
* CARGOS DEL MES S 0.00
_ TOTAL A PAGAR S 399.00

(TRESCIENTOS NOVENTA Y NUEVE 00/100 M.N.)

Conoce el detalle de tu estado de cuenta en www.izzi.mx

éTIENES DUDAS?

ATENCION A CLIENTES CHATEA EN LINEA EN- CONTACTANOS EN REDES SOCIALES
61800 120 5000 fasoparteizzi ( /soporteizzi

—— aeeeenae GE 2G AM A) GOFM & /soportelzzi
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SMART sou
TRANSLATION

LANGUAGE BUSINESS AGENCY

CERTIFICATE OF TRANSLATION

|, the undersigned, Nancy Viviana Luna Bustamante, hereby aitest that i am a certified
translator No. 345 by the Judicial Council of the State of f Baja California, Mexico for English,
and Spanish, that | have translated the ttabhed dG) gent entitled PASSPORT, with
registration number: LEG 022-1180 angthat to the best of) my knowledge, ability, and belief
this translation is a_ true, accurate and ., ee translation of the original

nest

Ne ancy Veta eee 2
TORAM:
Dated on Apr 01 2022 No, % eo Tag

Smart Translation: Language & Business Agency
Av. Acatita de Bajan #1197, C.P. 21290
Mexicali, Baja California, Mexico
info.smartranslation@gmail.com
Cel: + 52 4 (686) 190 7984
Tel: +52 1 (686) 360 6998
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com W=-8BEN Certificate of Foreign Status of Beneficial Owner for United
States Tax Withholding and Reporting (Individuals)

(Rev. October 2021) > For use by individuals. Entities must use Form W-8BEN-E. OMB No. 1545-1621
Department of the Treasury > Go to www.irs.gov/FormW8BEN for instructions and the latest information.
internal Revenue Service > Give this form to the withholding agent or payer. Do not send to the IRS.
Do NOT use this form if: Instead, use Form:
* You are NOT an individual woe ee . W-8BEN-E
¢ You are a U.S. citizen or other U.S. person, including a resident alien individual = + W-9
* You are a beneficial owner claiming that income is effectively connected with the conduct of trade or business within the United States

(other than personal services) . cone ee tee ke ee . W-8ECI
» You are a beneficial owner who is receiving compensation for personal services performed inthe United States. . . . . . . 82330rW-4

. W-8IMY

* You are a person acting as an intermediary
Note: If you are resident in a FATCA partner jurisdiction (that is, a Model 1 IGA jurisdiction with reciprocity), certain tax account information may be
provided to your jurisdiction of residence.
Identification of Beneficial Owner (see instructions)
1 Name of individual who is the beneficial owner 2 Country of citizenship

GARY LUU MEXICO
3 Permanent residence address (street, apt. or suite no., or rural route). Do not use a P.O. box or in-care-of address.

AV SIND DE HACIENDA 604FRACC FOVISTE 4TA ETAPA
City or town, state or province. Include postal code where appropriate. Country
MEXICLI BC C.P. 21240 MEXICO
4 Mailing address (if different from above)

City or town, state or province. Include postal code where appropriate. Country

5 U.S. taxpayer identification number (SSN or ITEN), if required (see instructions)

6a _‘ Foreign tax identifying number (see instructions) 6b Check if FTINnotlegally required. 2. . 2. 2. 2. 2 2 ew ee J
7? Reference number(s) (see instructions) 8 Date of birth (MM-DD-YYYY) (see instructions)
04/09/1954
Geis Claim of Tax Treaty Benefits (for chapter 3 purposes only) (see instructions)
9 =| certify that the beneficial owner is a resident of within the meaning of the income tax

treaty between the United States and that country.
10 Special rates and conditions (if applicable—see instructions): The beneficial owner is claiming the provisions of Article and paragraph

of the treaty identified on line 9 above to claim a % rate of withholding on (specify type of income):

Explain the additional conditions in the Article and paragraph the beneficial owner meets to be eligible for the rate of withholding:

Gea Certification

Under penalties of perjury, | deciare that | have examined the information on this form and to the best of my knowledge and belief it is true, correct, and complete. | further certify under penalties of perjury that:

« [am the individual that is the beneficial owner (or am authorized to sign for the individual that is the beneficial owner) of all the income or proceeds to which this form
relates or am using this form to document myself for chapter 4 purposes;

« The person named on line 1 of this form is not a U.S, person;

¢ This form relates to:

(a) income not effectively connected with the conduct of a trade or business in the United States;

(b) income effectively connected with the conduct of a trade or business in the United States but is not subject to tax under an applicable income tax treaty;

(c} the pariner’s share of a partnership’s effectively connacted taxable income; or

(d) the partner's amount realized from the transfer of a partnership interest subject to withholding under section 1446(§;
© The person named on line 1 of this form is a resident of the treaty country listed on line 9 of the form (jf any) within the meaning of the income tax treaty between the United States and that country; and
® For broker transactions or barter exchanges, the beneficial owner is an exempt foraign person as defined in the instructions.

Furthermore, | authorize this form to be provided to any withholding agent that has control, receipt, or custody of the income of which | am the beneficial owner or any withholding agent that can
disburse or make payments of the income of which | am the beneficial owner. | agree that | will submit a new form within 30 days if any certification made on this form becomes incorrect.

| certify that | have the capacity to sign for the person identified on line 1 of this form.

Sign Here b J
Dard Z— 03/28/2022
Signature of beneficial owner (or individual authorized to sign for beneficial owner) Date (MM-DD-YYYY}
GARY LUU

Print name of signer

For Paperwork Reduction Act Notice, see separate instructions. Cat. No, 25047Z Form W-8BEN (Rev. 10-2021)
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Document P age 7of9 Wells Fargo Deposit Operations
P.O. Box 5110 -

Aigo Wo) Sioux Falls, SD 57117-5110

17 -Vs4 6,8)

wellsfargo.corn

March 16, 2010

GARY LUU
PO BOX 741462
DALLAS, TX 75374

RE: Completing W-8BEN - Certificate of Foreign Status Form

Dear Customer:

Thank you for banking with Wells Fargo. We recently received a change to an address we have in your
account records, and that change requires us to obtain an updated Form W-8BEN (Certificate of
Foreign Status of Beneficial Owner) from you. The Internal Revenue Service (IRS) requires us to keep
on file a completed, signed Form W-8BEN for all beneficial owners of interest-earning deposit
accounts, including non-US persons and entities formed outside of the US:(as defined. by IRS
regulations). Fhe purpese of Form W-8BEN and any additional IRS-required documentation is to-
certify your foreign status. If you are unsure whether the Form W-8BEN is appropriate for you, please
consult a tax advisor.

Each account owner must complete a separate Form W-8BEN. Also, when we have a U.S. mailing
address on file for an account for any purpose, the owners must also provide additional required
documentation. For help in properly completing Form W-8BEN, as well as to determine the additional
documentation requirements, please refer to the enclosed instructions and tips.

Please return all owners’ completed Forms W-8BEN and additional required
documentation in the envelope provided.

As disclosed in your Account Agreement, the interest paid on your account will be subject to backup
withholding requirements of the IRS until we receive all properly completed certification

documentation.

If you have questions regarding this matter, please contact your Wells Fargo banker or call
Wells Fargo Phone Bank™ 24 hours a day, 7 days a week:

e For Personal Accounts: 1-800-TO-WELLS (1-800-869-3557).

e For Business Accounts: 1-800-CALL-WELLS (1-800-225-5935)

e For Commercial Accounts: 1-800-AT WELLS (1-800-289-3557), Option 2

We appreciate your business and thank you for your attention to this matter.
Deposit Operations

Enclosures

Together we'll go far

Wells Fargo Bank, NA. teh nt: 0 ot
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AO 215
(08/18)

ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS
Request to Determine Foreign Vendor Tax Payments

For any questions regarding the taxability of your foreign vendor payment, please contact the Payment
Management Branch by phone at 202-502-4829 or via email at tax_compliance(ao.uscourts.zov. All Fields outlined in

red are required.

Payee Name: |Gary Luu 12-35375 | Vendor Code: |

Amount to be paid (In Dollars):
Principal: $ 18,318.65 | Interest (if applicable):

Type of Payment (select one):

Restitution;

Unclaimed Funds;

Registry Funds;

Criminal Bond;

Contract;

Criminal Justice Act (Aitorney);

Criminal Justice Act (Services Other than Counsel); Of
Other (Explain):

990000 4g

If a service contract or CJA vendor, will the service be performed in the United States?

Funding Information: —
Fiscal Year Fund Budget Org Cost Org Object Code
Obligation: ee /
Number Type Item Line Accounting Line
Proposed Payment Method: | Domestic Wire Transfer |

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AO 215
(08/18)

ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS

Request to Determine Foreign Vendor Tax Payments

If payment is to be made via international wire transfer, provide the following Bank information as applicable:
Legal Name on Account: GARY LUU _

AV SIND DE HACIENDA 604
FRACC FOVISTE 4TA ETAPA
MEXICALI BC C.P. 21240 MEXICO

Account Holders Address:

Receiving Bank
SWIFT Routing # or SWIFTBIC:

Bank Name: _ _
Bank Address:

Bank Account Number: _

IBAN, BSB (Australia) or CLABE (Mexico): _

Sort Code:
Domestic United States Intermediary Bank (if applicable)
ABA Routing # or SWIFTBIC: 026009593
Bank Name: BANK OF AMERICA ee -
Bank Address: NEW YORK, NY USA
898118993732 ee

Bank Account Number: _ =

International Intermediary Bank (if applicable)
SWIFT Bank Identifier Code (SWIFTBIC): -

Bank Name:
Bank Address:

Bank Account Number: _ ee
IBAN, BSB (dusiralia) or CLABE (Mexico): —
Sort Code: _ ee

GARYLUU (omy Ae Court /TXNB 12-35375
Name of Requester - Court Unit/FPDO

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